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                      Exhibit 3
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 [translation]


                 Civil Rehabilitation Proceeding Commencement Application


                                                                       February 28, 2014


 To the person in charge of civil rehabilitation
 Tokyo District Court 20th Civil Chamber




 Applicant          MtGox Co., Ltd.
                    11-5, Shibuya 2-chome, Shibuya-ku, Tokyo 150-0002


                    Representative Director of the above Mark Marie Robert Karpeles


                    Counsel of the applicant
                            Attorney-at-law Hideyuki Yamamoto
                            Attorney-at-law Junko Suetomi
                            Baker & McKenzie (Gaikokuho Joint Enterprise)
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                    Counsel of the applicant
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                            Marunouchi 2-3-2, Chiyoda-ku, Tokyo 100-0005
                            Tel: 03-6267-1241
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                                        Attachments
 1.       Certificate of eligibility (same as exhibit 2 of prima facie evidence documents)
 2.       Determination of Director
 3.       Power of attorney


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                                  Purpose of the application


 A decision of commencement of civil rehabilitation procedure against the applicant is
 hereby demanded.


                                  Reasons for the application


 Section 1.        Facts causing the the civil rehabilitation commencement


 The outline as well as the current situation of the assets and liabilities of the applicant
 (the debtor) MtGox Co., Ltd. (the "applicant") are as follows. The applicant is not able to
 pay his debts when due without severe impediments to the continuation of the activity
 and since there is also a possibility of assets exceeding liabilities, there is a possibility of
 a cause for bankruptcy. Further, the circumstances leading to the causes for
 commencement are indicated below.


 Section 2.        Outline of the debtor
          1.       Outline of the company
                   (1)       Corporate name
                             The name is: MtGox Co., Ltd.
                   (2)       Business purpose of the company
                             ①        Building and consulting with regard to IT systems
                             ②        Development, production and consulting with regard
                                      to web content for the internet
                             ③        Planning, development and design of computers and
                                      servers
                             ④        Management and administration of internet sites
                             ⑤        Anything incidental to each of the above.
                   (3)       Shares and amount of capital
                             Total number of shares that can be issued 10,000 shares
                             Total number of shares issued                  500 shares
                             Amount of capital                              JPY 5,000,000
                   (4)       Date of establishment
                             August 9, 2011
                   (5)       Shareholders
                             The following two parties. Further, the representative of the


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                            applicant, Mark Marie Robert Karpeles (the "applicant
                            representative") holds 100% of the issued shares of Tibanne
                            Co., Ltd. (the "parent company" or "Tibanne") which owns 440
                            shares of the applicant (88% of the total number of issued
                            shares).


                            Tibanne             440 shares (88% of the total)
                            Jed McCaleb (individual) 60 shares (12% of the total)
                (6)         Directors
                            Representative Director Mark Marie Robert Karpeles
                            As indicated above, the applicant representative is also the
                            representative director of the parent company as well as its
                            only shareholder.
                (7)         Address of the head office
                            11-5, Shibuya 2-chome, Shibuya-ku, Tokyo


         2.     Business of the applicant
                The main business of the applicant is the operation of an online
                exchange for the purchase and sale of virtual currencies such as
                bitcoins.


         3.     Facilities at factories and other places of business
                The only place of business of the company is at the address of its head
                office at 11-5, Shibuya 2-chome, Shibuya-ku, Tokyo.
                This office is leased by the parent company and the applicant leases it
                from Tibanne.


         4.     Employees
                There are no employees directly employed by the applicant but a
                service agreement has been executed with the parent company and
                the applicant receives services from the parent company. The parent
                company has 32 employees (permanent employees, contract employees,
                arbeito).


 Section 3.     Situation of the assets and liabilities of the applicant




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            1.         Balance sheet for the two most recent fiscal years
                       The balance sheets of the applicant since its establishment are as
                       submitted in the prima facie evidence documentation. The outline is
                       as follows:


 Balance sheet                         August 9, 2011 - March 31, 2012   April 1, 2012 - March 31, 2013

 Current assets                                                    95                       3,838,803
 Total assets                                                      95                       3,838,803
 Current liabilities                                          21,232                        3,831,393
 Total liabilities                                            21,232                        3,831,393
 Total net assets                                           (21,137)                             7,410
 Total liabilities and net assets                                  95                       3,838,803


            2.         Profit and loss statement for the two most recent fiscal years
                       The profit and loss statement of te application since its establishment
                       are as submitted in the prima facie evidence documentation. The
                       outline is as follows:
 Profit and loss statement             August 9, 2011 - March 31, 2012   April 1, 2012 - March 31, 2013

 Sales                                                              0                         135,072
 Gross margin                                                    950                          131,085
 Operating margin                                           (26,138)                            21,205
 Current margin                                                     0                           29,395
 Current net income (loss)                                  (26,137)                            28,548


            3.         Contents of the assets
                       The assets of the applicant are as shown in the list of assets. The
                       situation, etc. of the main assets is as follows.


                       Current assets:
                       (1)          Cash deposits
                                    The applicant holds a total of JPY 513,988,952 in banks and
                                    at payment service providers.
                       (2)          BTC account
                                    The applicant earns a bitcoin fee of approximately 0.6% from
                                    users of the exchange of the applicant ("users") who sell
                                    bitcoins. This bitcoin fee is recorded as an assets in the

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                         account "BTC account". Its value as of the time of the
                         application is approximately JPY 901 millions.
                (3)      Inventory assets
                         This includes OTP cards (JPY 18,627,790), Yubikeys
                         (JPY 3,419,440) for a total of JPY 22,047,230.
                (4)      Advance payments
                         Advance fees of JPY 7,968,000 paid to an annual event in
                         France, E Logic, for computer fans.
                (5)      Short term loans
                         This includes expenses borne on behalf of related companies
                         as     well    as     related   loans.   The   total   amounts   to
                         JPY 801,249,564.
                (6)      Other companies cash
                         These are cash deposits located outside the bank accounts of
                         the applicant. The total amounts to JPY 1,384,057,302.
                Fixed assets:
                (7)      Fixtures and tools
                         These include computers, hardware and servers for a total of
                         JPY 107,510,694.
                (8)      Development expenses
                         This include software development, web pages development,
                         mobile        phone    developments.     The   total   amounts   to
                         JPY 91,964,675.
                (9)      Deposits
                         The deposit for the leased space is JPY 540,000.
                (10)     Deposited insurance money
                         Seizures resulting from provisional dispositions.
                         JPY 10,586,875


        Total assets                                              JPY 3,841,866,163


        4.      Contents of the liabilities
                The liabilities of the applicant are as follows.


                (1)      Trade accounts payable
                         The total amount of trade accounts payable can mostly be


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                        ascertained and, although it does not include everything,
                        amounts to JPY 19,033,902.
                (2)     BTC suspense receipts              JPY 901,952,870
                        This is the same amount as the one recorded in "BTC
                        account" on the assets side.
                (3)     Deposits                           JPY 5,502,576,538
                        Cash deposited from users (there are approximately 127,000
                        users).


 Section 4.     Other procedures or disposition related to the properties of the
                applicant


         1.     Lawsuits in Japan
                Case no. Tokyo District Court 2013 (wa) 33872 Claim for return of
                        deposits
                Case outline       This is a claim for return of a deposit of
                        approximately JPY 10 million made by a user (individual)


         2.     Civil proceedings in the USA
                The applicant has received from a Delaware corporation a claim for
                payment of damages of USD 75 million for breach of a license contract.
                On the other hand, the applicant is claiming the return of USD 5
                million from the same corporation. The lawsuit is proceeding in the
                United States District Court, Western District of Washington.


         3.     Seizure of deposits from the Department of Homeland Security
                The US Department of Homeland Security has seized USD 5 million
                from a related company of the applicant. The deposits are not those of
                the applicant but were held under the name of a related company but
                the source of these funds were deposits from users (mostly US users).


 Section 5.     Existence of labor unions
                None.


 Section 6.     Existence of foreign bankruptcy proceedings
                None.


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 Section 7.     Permits from administrative authorities or other agencies with regard
                to the establishment of the company or its business purpose
                None.


 Section 8.     Related companies
                The related companies of the applicant are as shown in the prima facie
                evidence documentation. The applicant has two subsidiaries and the
                parent of the applicant, Tibanne has several subsidiaries other than
                the applicant.
                Said corporations can be separated into two categories. The first one
                consists in corporations established in countries where the applicant
                which is a Japanese corporation cannot for financial regulations
                reasons open an account with financial instructions (since users exist
                all over the world, there is a need to have accounts in many financial
                institutions to receive deposits from users). The second category
                consists of corporation established for a business or with a business
                purpose unrelated to the operation of a bitcoin online exchange.


 Section 9.     Existence of a cause for commencement of proceedings


         1.     Account up to the application
                (1)     Establishment of the applicant
                        Jed McCaleb, one of the shareholders of the applicant
                        developed the software to exchange online the virtual
                        currency known as bitcoin and the online exchange started
                        operations in 2010. In February 2011, the online exchange
                        (not only the system but also the customers and the bitcoins
                        held) was transferred from Jed McCaleb to Tibanne and
                        Tibanne established the applicant on August 9, 2011 as
                        recipient for the business.
                        When transferring the business, Tibanne delivered to Jed
                        McCaleb 60 shares of the applicant as part of the price for the
                        business which explains why Jed McCaleb is also a
                        shareholder of the applicant.




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                (2)    Expansion of the business of the applicant
                       Immediately following the continuation of the business by
                       Tibanne, in June 2011, the system was hacked and Tibanne
                       had to stop the online exchange, develop new software and
                       restart the online exchange after a few weeks. Following this,
                       the business grew rapidly.
                       The applicant was at some time the largest bitcoin exchange
                       in the world.


                (3)    Troubles with the applicant business
                       In May 2013, the US Department of Homeland Security
                       ("DHS") seized approximately USD 5 million in the US bank
                       account and the account held at a money transmitting
                       business provider of Mutum Sigillum LLC, a corporation
                       related to the applicant.
                       The reasons for the seizure was the fact that the applicant did
                       not have a money transmitter license in the US. With regard
                       to the return of the funds seized, negotiations have been going
                       on for more than 6 months but there is no solution in sight.
                       Further, in order to solve its regulatory problems, the
                       applicant looked for a business partner and in November
                       2012 executed a license agreement with CoinLab Inc. The
                       purpose of this agreement was to transfer to CoinLab Inc., as
                       licensee, the US business and it stipulated a fixed transition
                       period to ensure a smooth transfer. However, CoinLab Inc.
                       used the test of the API with the site of the applicant during
                       said period to unduly collect in its own account large amounts
                       from users. CoinLab Inc. returned a part of these funds but
                       has failed to return approximately USD 5 million. The
                       applicant is in a lawsuit with CoinLab Inc in a US court and
                       but there are no prospects yet for the return of these funds.


                (4)    Troubles which lead to the application
                       At the start of February 2014, illegal access which abused a
                       bug in the bitcoin base software (the software which manages
                       the transfers, confirmation and mining, etc.) known as


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                        "transaction   malleability"   resulted   in   an   increase   in
                        unconfirmed transactions of bitcoins transfers (bitcoins
                        withdrawals) and it was found that there was a possibility
                        that the abuse of this bug may have resulted in illicit
                        withdrawals of bitcoins. On February 10, 2014, the applicant
                        stopped the withdrawal of bitcoins in order to eliminate the
                        impact of this bug and develop and test an upgrade to the
                        software of the applicant. The existence of this bug was
                        known since May 2011 but it was not known until the end of
                        January 2014 that it could lead to a large number of
                        unconfirmed transactions and to a risk of illicit withdrawals.
                        Following this, the applicant's investigation revealed that a
                        large number of bitcoins had disappeared and although the
                        exact situation is still not known today, it was found that
                        until February 24, 2014, almost all of 750,000 bitcoins held on
                        the basis of users transactions records as well as of 100,000
                        bitcoins held on the basis of the applicant's own transaction
                        records had disappeared. These 750,000 bitcoins expressed in
                        currency would amount to approximately JPY 11.46 billion on
                        the basis of the last exchange rate on the online exchange of
                        the applicant on February 25 which is the date when the
                        exchange service was stopped (1 bitcoin = 13472.79 yen). The
                        applicant believes that there is a high probability that the
                        bitcoins were stolen by the abuse of the above bug and is
                        currently asking an expert to investigate criminal complaints
                        as well as procedures.
                        Further, on February 24, it was found that there was a large
                        discrepancy in the total of deposit balances at those financial
                        institutions which managed said deposits compared to the
                        total amount actually deposited by users and that there was a
                        large shortfall of deposit balances (the amounts are still
                        under investigation and will probably change but the amount
                        should be a maximum of JPY 2.8 billion).
                        The reasons for these problems are under investigation. It is
                        probable that there are several causes including damages
                        from hacking by third parties but it is necessary to


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                         investigate a huge number of past transactions in order to
                         find these causes. As of this date, it is therefore not possible to
                         confirm the total amount of bitcoins which disappeared and
                         the shortfall of deposit balances compared to money
                         deposited.
                         The applicant judged that continuing the business normally
                         would be difficult taking into account the lost bitcoins and the
                         discrepancy between deposit balances and the balance of
                         funds deposited and stopped all access to the site of the
                         applicant around noon (Japan time) on February 25.


         2.     Insolvency, liabilities exceeding assets
                From the circumstances described above, the total current liabilities of
                the applicant amount to JPY 6.4 billion compared to total assets of
                JPY 3.8 billion and the applicant is therefore in a situation of
                liabilities exceeding assets.
                Further, making public the loss of bitcoins and the shortfall of funds
                deposited would abruptly worsen the credit of the applicant which is
                already affected by users' concerns about the stop of currency
                withdrawals and the stop of the online exchange service. A rush of
                withdrawals of bitcoins or currencies from users would clearly be
                impossible for the applicant to pay. It is therefore obvious that the
                applicant is not able to face the payment of its debts at the time they
                are due without this creating a significant problem to the business of
                the applicant.


 Section 10.    Opinion of the applicant with regard to the policy of drafting a
                rehabilitation plan


         1.     Method of rehabilitation
                The main source of revenue of the application is the fees earned upon
                the purchase of sale and bitcoins on the online exchange (both
                purchaser and seller pay a fee of approximately 0.6% to the applicant).
                Users of the online exchange include many which use bitcoins as a
                method of daily settlement of funds and many which transact for the
                purpose of investment focusing on the different exchanges rates


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                available on each online exchange. On this basis, even if the currencies
                and bitcoins deposited cannot be used, exchanged or converted, the
                applicant believes that if the online exchange was restarted and if
                trust was restored in the business by a change in management, it is
                expected that many users would transact bitcoins again and new users
                would start transactions on the online exchange of the applicant.
                Accordingly, if the online exchange system could be restarted without
                problems, since it is possible to search for persons willing to invest in
                the online exchange system, the business could be rehabilitated by
                having said person succeed the online exchange system and the funds
                obtained from said succession would secure the funds necessary to
                repay rehabilitation debts.


         2.     Future financing plans
                Since there is sufficient cash on hand, financing is not an issue.


         3.     Prospects of cooperation from creditors, employees and important
                business partners
                (1)      Creditors
                        The impossibility for creditors to withdraw bitcoins and
                        currencies is likely to generate significant reaction.
                        Taking this into account, it is necessary to thoroughly
                        investigate the disappearance of bitcoins and deposits which
                        is the cause for this application, to evaluate damages, find
                        causes, to actively repair damages, report damages to
                        authorities and cooperate with their investigations. But even
                        if these investigations, activities to repair damages, report
                        and cooperation with authorities, etc. were implemented, the
                        civil rehabilitation which assumes a rehabilitation of the
                        activity should be easier for creditors to accept than a
                        bankruptcy proceeding which would almost exclude any
                        possibility of restart of the business. On this basis, the
                        cooperation of creditors may be expected.
                        Further, according to some press reports, chief cabinet
                        secretary Suga expressed in a press conference that the
                        government would react as necessary after having collected


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                           information through related government agencies and
                           understood the situation. The applicant will do its best efforts
                           to cooperate fully with authorities and with any agencies in or
                           outside Japan investigating the situation and asking for the
                           applicant's cooperation.
                  (2)      Employees, important business partners
                           Since the cooperation of the parent Tibanne can be obtained,
                           the cooperation of the employees should not be a problem.
                           Further, the main business partners of the applicant are the
                           users of the online exchange, there should be no problems
                           obtaining their continuing cooperation even after the
                           application for civil rehabilitation.




 Prima facie evidence documentation


 1.      Articles of association
 2.      Certificate of commercial registry
 3.      Shareholders' registration
 4. and 5.Financial statements and details of account headings
 6.      List of creditors (trade accounts payable)
         (since there are lots of member creditors for whom only an email address is
         known, this will be filed after further investigations)
 7.      List of assets
 8.      Chart showing related companies




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